            Case 1:19-cv-02173-CJN Document 21 Filed 07/29/19 Page 1 of 4




                                               STATE OF NEW YORK
                                         OFFICE OF THE ATTORNEY GENERAL
  LETITIA JAMES                                                                                            DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                              LITIGATION BUREAU

                                           Writer’s Direct Dial (212) 416-6127

                                                                                                           July 29, 2019

  By ECF
  Hon. Carl J. Nichols
  United States District Judge
  United States District Court for the
  District of Columbia
  333 Constitution Avenue, N.W.
  Washington, D.C. 20001

                  Re:        Trump v. Committee on House Ways and Means, United States House of
                             Representatives, et al., DDC Case No. 1:19-cv-2173-CJN

  Dear Judge Nichols:

          This Office represents Defendants Letitia James, sued in her official capacity as New
  York Attorney General, and Michael R. Schmidt, sued in his official capacity as Commissioner
  of the New York State Department of Taxation and Finance (the “New York Defendants”), in the
  above-referenced action. I am compelled to write in response to Plaintiff’s reply filed this
  morning in support of his emergency application (ECF No. 17) (“Reply”) because he raises there
  for the first time an alternative request that the Court “enjoin the New York Defendants, instead
  of the Committee.” Reply at 9. The New York Defendants have been blindsided by this new
  request.

          It is settled in this Circuit that the Court should not address arguments raised for the first
  time in a reply brief. Jones v. Mukasey, 565 F. Supp. 2d 68, 81 (D.D.C. 2008) (“As the D.C.
  Circuit has consistently held, the Court should not address arguments raised for the first time in a
  party’s reply.”) (citations omitted). Moreover, any consideration of plaintiff’s new alternative
  request at today’s 4pm hearing would be particularly unfair and prejudicial to the New York
  Defendants based on the specific facts leading up to the hearing. The New York Defendants
  have thus far taken no position on plaintiff’s emergency application because they were expressly
  assured by plaintiff’s counsel that “[o]ur application will seek relief only against the House Ways
  & Means Committee, not [the New York Defendants].” See attached email of 7/24/19 from
  plaintiff’s counsel to Letitia James and my response of 7/24/19. Also, I requested permission to

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           Case 1:19-cv-02173-CJN Document 21 Filed 07/29/19 Page 2 of 4
Hon. Carl J. Nichols
July 29, 2019
Page 2

appear for today’s hearing telephonically rather than travel from New York to appear in person
because the application as submitted (and represented by plaintiff’s counsel) did not seek any
relief against my clients.

        There is simply no excuse for plaintiff’s eleventh-hour expansion of the relief he is
seeking to include the New York Defendants. Plaintiff received the Committee’s response to his
emergency application on July 25, 2019, before the case was reassigned to Your Honor (ECF
No. 14). If plaintiff deemed it necessary to amend his application in order to request alternative
relief against the New York Defendants based on the evident strength of the Committee’s
response, then his counsel should have immediately advised the Court and all defendants of his
intention to do so and afforded the New York Defendants an opportunity to respond and appear
in person to argue in opposition.

        Accordingly, the New York Defendants strenuously object to the Court giving any
consideration to plaintiff’s new alternative request for relief against the New York Defendants
until such time as they have had an opportunity to submit a response and their counsel can
appear in person to participate in argument.


                                                     Respectfully submitted,

                                                     /s/ Andrew Amer
                                                     Andrew Amer
                                                     Special Litigation Counsel

cc: Counsel of Record (w encls. via ECF)
Case 1:19-cv-02173-CJN Document 21 Filed 07/29/19 Page 3 of 4
Case 1:19-cv-02173-CJN Document 21 Filed 07/29/19 Page 4 of 4
